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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

UNITED STATES OF AMERICA )
)
)
Vv. ) Criminal No. 1:19-CR-253
)
KRISTOPHER LEE DALLMANN, et al., )
Defendants. )
ORDER

On Friday, July 17, 2020, the government filed an ex parte pleading (Dkt. 362). The
government’s request to file this pleading under seal and ex parte is denied, and this ex parte
pleading has not been and will not be reviewed before it is served on the defendants. The
government may withdraw this pleading on or before Tuesday, July 21, 2020 at 5:00 p.m. If the
pleading has not been withdrawn by that time, an Order will enter that directs the Clerk’s Office
to serve the ex parte pleading on all defendants, and the Court will proceed to consider the
pleading in the ordinary course.

Accordingly,

It is hereby ORDERED that the government’s request to file the July 17, 2020 pleading
(Dkt. 362) ex parte and under seal is DENIED.

It is further ORDERED that in the event the government elects not to withdraw the
pleading on or before Tuesday, July 21, 2020 at 5:00 p.m., an Order will enter that directs the
Clerk’s Office to serve the ex parte and under seal pleading on all defendants, and the Court will
proceed to consider the pleading in the ordinary course.

The Clerk is directed to send a copy of this Order to all counsel of record.

Alexandria, Virginia
July 17, 2020

 
